                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                  AT GREENEVILLE

 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )       No. 2:20-CR-42
                                              )       WYRICK / GREER
 JERRY LYNN MORRELL                           )

                          MOTION TO CONTINUE MOTION
                     DEADLINE, PLEA DEADLINE AND TRIAL DATE

         Jerry Lynn Morrell, by counsel, moves the Court for a continuance of the motion deadline,

 plea deadline and trial date in this case. In support of this motion, defendant states and shows as

 follows:

         1.     The motion deadline is December 18, 2020. The government response deadline is

 January 1, 2021. The plea deadline is January 26, 2021. The trial is scheduled for February 9,

 2021.

         2.     Defense counsel needs additional time to review and discuss discovery with Mr.

 Morrell, as well as determine the appropriate course of action to take towards disposition, which

 may require further research and investigation. Access to her client via video and teleconference

 has been hindered due to COVID-19 and scheduling issues at the Carter County Detention Center,

 and those issues have just recently been resolved. Counsel needs additional time to discuss the

 case with Mr. Morrell, and counsel does not believe she can adequately prepare or effectively

 represent Mr. Morrell with the currently scheduled deadlines and trial dates.

         Furthermore, due to the recent outbreak of COVID-19, counsel has been unable to meet

 with Mr. Morrell or interview additional witnesses and conduct additional investigation as deemed

 necessary in this case. Due to these social distancing restrictions, counsel has not been able to

 discuss adequately whether pretrial motions are appropriate, possible dispositions to the case, and




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 the consequences that Mr. Morrell faces should he be convicted of the instant charges. Additional

 time is needed to complete these tasks in an effort to provide Mr. Morrell with effective

 representation.

        3.         The granting of the continuance should result in the delay being excluded under the

 Speedy Trial Act as the ends of justice are best served by allowing counsel the additional time

 necessary for effective preparation given counsel’s exercise of due diligence, as required under 18

 U.S.C. §§ 3161(h)(7)(A) and (B). Counsel cannot provide the effective assistance of counsel

 otherwise.

        4.         The request for extension is not being made for the purposes of delay.

        In consideration of the foregoing, counsel for the defendant requests a continuance of the

 motion deadline, plea deadline and trial date.

                                                  RESPECTFULLY SUBMITTED:

                                                  FEDERAL DEFENDER SERVICES OF
                                                  EASTERN TENNESSEE, INC.

                                         BY:      s/ Nikki C. Pierce
                                                  Nikki C. Pierce
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